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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2024-90533
      Wellpath Holdings, Inc. and Statutory Unsecured Claimholders' Committee o



      Case Type :                    bk
      Case Number :                  2024-90533
      Case Title :                   Wellpath Holdings, Inc. and Statutory Unsecured Claimholders'
                                     Committee o
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